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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________  District
                                                          District       of __________
                                                                   of Columbia

                                                                     )
                                                                     )
                                                                     )
                 CAPTAIN DANIEL KNICK
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
 LLOYD J. AUSTIN, Secretary of Defense; FRANK                        )
 KENDALL, Secretary of the Air Force; ROBERT I.
                                                                     )
MILLER, Surgeon General of the Air Force; RUDOLF
 WILHELM KUEHNE, JR, Commander, : Air Force                          )
            Flight Standards Agency                                  )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION
                                      COL. RUDOLF WILHELM KUEHNE, JR. in his official capacity as Commander,
To: (Defendant’s name and address)Air Force Flight Standards Agency
                                      1000 Defense Pentagon
                                      Washington, D.C. 20301-1000




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Jeremy H. Gonzalez Ibrahim (PA Bar No: 53019), Of Counsel
                                      Poblete Tamargo, LLP
                                      510 King Street, Suite 340
                                      Alexandria, VA 20036
                                      703−566−3037


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ANGELA D. CAESAR, CLERK OF COURT


Date:             05/04/2022
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 1:22-cv-01267-BAH Document 5-7 Filed 05/11/22 Page 2 of 2

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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
